                Case 20-02087-hb                  Doc 1         Filed 05/08/20 Entered 05/08/20 14:04:18                               Desc Main
                                                                Document      Page 1 of 25

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF SOUTH CAROLINA

Case number (if known)                                                        Chapter you are filing under:
                                                                              o Chapter 7
                                                                              n Chapter 11
                                                                              o Chapter 12
                                                                              o Chapter 13                                    o    Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  04/20
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Mark
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Randolph
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Eskew
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-1028
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
                Case 20-02087-hb               Doc 1        Filed 05/08/20 Entered 05/08/20 14:04:18                             Desc Main
                                                            Document      Page 2 of 25
Debtor 1   Mark Randolph Eskew                                                                       Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have      n I have not used any business name or EINs.                  o I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EIN                                                           EIN




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 236 Keeneland Way
                                 Greer, SC 29651
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Greenville
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.

                                 PO Box 25804
                                 Greenville, SC 29616
                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                  n     Over the last 180 days before filing this petition,     o      Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                 o     I have another reason.                                  o      I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
               Case 20-02087-hb                Doc 1         Filed 05/08/20 Entered 05/08/20 14:04:18                               Desc Main
                                                             Document      Page 3 of 25
Debtor 1    Mark Randolph Eskew                                                                          Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                             o Chapter 7
                                 n   Chapter 11
                                 o   Chapter 12
                                 o   Chapter 13



8.   How you will pay the fee    n      I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                        order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                        a pre-printed address.
                                 o      I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                        The Filing Fee in Installments (Official Form 103A).
                                 o      I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                        but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                        applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                        the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for          n No.
     bankruptcy within the
     last 8 years?               o Yes.
                                             District                                  When                            Case number
                                             District                                  When                            Case number
                                             District                                  When                            Case number



10. Are any bankruptcy           n No
    cases pending or being
    filed by a spouse who is     o Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known



11. Do you rent your             n No.        Go to line 12.
    residence?
                                 o Yes.       Has your landlord obtained an eviction judgment against you?

                                              o         No. Go to line 12.

                                              o         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                        this bankruptcy petition.




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
                Case 20-02087-hb                Doc 1          Filed 05/08/20 Entered 05/08/20 14:04:18                             Desc Main
                                                               Document      Page 4 of 25
Debtor 1    Mark Randolph Eskew                                                                            Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time      o No.       Go to Part 4.
    business?

                                   n Yes.      Name and location of business

     A sole proprietorship is a
     business you operate as                   A-1 Properties, LLC
     an individual, and is not a               Name of business, if any
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               PO Box 25804
     If you have more than one                 Greenville, SC 29616
     sole proprietorship, use a
     separate sheet and attach                 Number, Street, City, State & ZIP Code
     it to this petition.                      Check the appropriate box to describe your business:
                                               o       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               o       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               o       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               o       Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                               n       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S.C. §
    1182(1)?
                                   o No.       I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
     U.S.C. § 101(51D).            n No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                               Code.

                                   o Yes.      I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                   o Yes.      I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any         n No.
    property that poses or is
    alleged to pose a threat       o Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 4
                Case 20-02087-hb                 Doc 1         Filed 05/08/20 Entered 05/08/20 14:04:18                           Desc Main
                                                               Document      Page 5 of 25
Debtor 1    Mark Randolph Eskew                                                                        Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a
    briefing about credit
                                     n Icounseling
                                           received a briefing from an approved credit
                                                      agency within the 180 days before I
                                                                                                   o I received a briefing from an approved credit
                                                                                                       counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check       o   I received a briefing from an approved credit             o   I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your              o   I certify that I asked for credit counseling              o   I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                     o   I am not required to receive a briefing about             o   I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                         o     Incapacity.                                             o    Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                         o     Disability.                                             o    Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                         o     Active duty.                                            o    Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
               Case 20-02087-hb                Doc 1        Filed 05/08/20 Entered 05/08/20 14:04:18                                  Desc Main
                                                            Document      Page 6 of 25
Debtor 1    Mark Randolph Eskew                                                                           Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                           n No. Go to line 16b.
                                           o Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                           o No. Go to line 16c.
                                           n Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under         n No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that        o Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses               o No
     are paid that funds will
     be available for                      o Yes
     distribution to unsecured
     creditors?

18. How many Creditors do        n 1-49                                          o 1,000-5,000                               o 25,001-50,000
    you estimate that you                                                        o 5001-10,000                               o 50,001-100,000
    owe?                         o 50-99
                                 o 100-199                                       o 10,001-25,000                             o More than100,000
                                 o 200-999

19. How much do you              o $0 - $50,000                                  n $1,000,001 - $10 million                  o $500,000,001 - $1 billion
    estimate your assets to      o $50,001 - $100,000                                                                        o $1,000,000,001 - $10 billion
    be worth?                                                                    o $10,000,001 - $50 million
                                 o $100,001 - $500,000                           o $50,000,001 - $100 million                o $10,000,000,001 - $50 billion
                                 o $500,001 - $1 million                         o $100,000,001 - $500 million               o More than $50 billion

20. How much do you              o $0 - $50,000                                  n $1,000,001 - $10 million                  o $500,000,001 - $1 billion
    estimate your liabilities    o $50,001 - $100,000                                                                        o $1,000,000,001 - $10 billion
    to be?                                                                       o $10,000,001 - $50 million
                                 o $100,001 - $500,000                           o $50,000,001 - $100 million                o $10,000,000,001 - $50 billion
                                 o $500,001 - $1 million                         o $100,000,001 - $500 million               o More than $50 billion

Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Mark Randolph Eskew
                                 Mark Randolph Eskew                                               Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     May 8, 2020                                       Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 6
               Case 20-02087-hb                  Doc 1           Filed 05/08/20 Entered 05/08/20 14:04:18                          Desc Main
                                                                 Document      Page 7 of 25
Debtor 1   Mark Randolph Eskew                                                                            Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Robert H. Cooper DCID                                          Date         May 8, 2020
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Robert H. Cooper DCID #5670
                                Printed name

                                The Cooper Law Firm
                                Firm name

                                150 Milestone Way, Ste B
                                Greenville, SC 29615
                                Number, Street, City, State & ZIP Code

                                                                                                                   thecooperlawfirm@thecooperlawfirm
                                Contact phone     864-271-9911                               Email address         .com
                                DCID #5670 SC
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
                 Case 20-02087-hb                    Doc 1            Filed 05/08/20 Entered 05/08/20 14:04:18                                     Desc Main
                                                                      Document      Page 8 of 25

 Fill in this information to identify your case:

 Debtor 1                     Mark Randolph Eskew
                              First Name                    Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                     Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number
 (if known)
                                                                                                                                               o    Check if this is an
                                                                                                                                                    amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                                   Unsecured claim
 1                                                                   What is the nature of the claim?              Credit Card                     $ $18,271.00
              Bank of America
              4909 Savarese Circle                                   As of the date you file, the claim is: Check all that apply
              Fl1-908-01-50                                          o       Contingent
              Tampa, FL 33634                                        o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
              Contact                                                o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $


 2                                                                   What is the nature of the claim?              Principal residence             $ $100,000.00
              Bruce Kingsmore
              101 N. Main Street                                     As of the date you file, the claim is: Check all that apply
              Greenville, SC 29601                                   o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     o        No
              Contact                                                n        Yes. Total claim (secured and unsecured)                 $ $100,000.00
                                                                                    Value of security:                               - $ $0.00


B104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                              Page 1

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               Case 20-02087-hb                      Doc 1            Filed 05/08/20 Entered 05/08/20 14:04:18                                  Desc Main
                                                                      Document      Page 9 of 25


 Debtor 1          Mark Randolph Eskew                                                              Case number (if known)

            Contact phone                                                           Unsecured claim                                    $ $100,000.00


 3                                                                   What is the nature of the claim?              Pearson                      $ $50,000.00
            Bruce Kingsmore
            101 N. Main Street                                       As of the date you file, the claim is: Check all that apply
            Greenville, SC 29601                                     o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     o        No
            Contact                                                  n        Yes. Total claim (secured and unsecured)                 $ $50,000.00
                                                                                    Value of security:                               - $ $0.00
            Contact phone                                                           Unsecured claim                                    $ $50,000.00


 4                                                                   What is the nature of the claim?              Rose Garden                  $ $50,000.00
            Bruce Kingsmore
            101 N. Main Street                                       As of the date you file, the claim is: Check all that apply
            Greenville, SC 29601                                     o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     o        No
            Contact                                                  n        Yes. Total claim (secured and unsecured)                 $ $50,000.00
                                                                                    Value of security:                               - $ $0.00
            Contact phone                                                           Unsecured claim                                    $ $50,000.00


 5                                                                   What is the nature of the claim?              Trent Drive                  $ $50,000.00
            Bruce Kingsmore
            101 N. Main Street                                       As of the date you file, the claim is: Check all that apply
            Greenville, SC 29601                                     o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     o        No
            Contact                                                  n        Yes. Total claim (secured and unsecured)                 $ $50,000.00
                                                                                    Value of security:                               - $ $0.00
            Contact phone                                                           Unsecured claim                                    $ $50,000.00


 6                                                                   What is the nature of the claim?              Rose Garden                  $ $62,000.00
            CBL State Savings Bank
            PO Box 388                                               As of the date you file, the claim is: Check all that apply
            Greer, SC 29652                                          o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 2

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               Case 20-02087-hb                      Doc 1           Filed 05/08/20 Entered 05/08/20 14:04:18                                   Desc Main
                                                                     Document     Page 10 of 25


 Debtor 1          Mark Randolph Eskew                                                              Case number (if known)


                                                                     Does the creditor have a lien on your property?

                                                                     o        No
            Contact                                                  n        Yes. Total claim (secured and unsecured)                 $ $62,000.00
                                                                                    Value of security:                               - $ $0.00
            Contact phone                                                           Unsecured claim                                    $ $62,000.00


 7                                                                   What is the nature of the claim?              Credit Card                  $ $16,512.00
            Chase Card Services
            Attn: Bankruptcy                                         As of the date you file, the claim is: Check all that apply
            Po Box 15298                                             o       Contingent
            Wilmington, DE 19850                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 8                                                                   What is the nature of the claim?              Credit Card                  $ $26,830.00
            Citibank
            Citicorp Credit Srvs/Centralized                         As of the date you file, the claim is: Check all that apply
            Bk dept                                                  o       Contingent
            Po Box 790034                                            o       Unliquidated
            St Louis, MO 63179                                       o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 9                                                                   What is the nature of the claim?              Property Taxes               $ $27,000.00
            Greenville County Tax Collector
            301 University Ridge                                     As of the date you file, the claim is: Check all that apply
            Suite 700                                                o       Contingent
            Greenville, SC 29601                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 10                                                                  What is the nature of the claim?              Income Taxes 2017,           $ $40,000.00
                                                                                                                   2018 and 2019


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 3

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               Case 20-02087-hb                      Doc 1           Filed 05/08/20 Entered 05/08/20 14:04:18                                   Desc Main
                                                                     Document     Page 11 of 25


 Debtor 1          Mark Randolph Eskew                                                              Case number (if known)

            Internal Revenue Service                                 As of the date you file, the claim is: Check all that apply
            Centralized Insolvency Operation                         o       Contingent
            PO Box 7346                                              o       Unliquidated
            Philadelphia, PA 19101-7346                              o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 11                                                                  What is the nature of the claim?              Brushy Creek                 $ $40,000.00
            Johnny Flynn
            1 Whittington Drive                                      As of the date you file, the claim is: Check all that apply
            Greenville, SC 29615                                     o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     o        No
            Contact                                                  n        Yes. Total claim (secured and unsecured)                 $ $40,000.00
                                                                                    Value of security:                               - $ $0.00
            Contact phone                                                           Unsecured claim                                    $ $40,000.00


 12                                                                  What is the nature of the claim?              Melodyaire                   $ $200,000.00
            Patrick Thompson
            5 Big Level Drive                                        As of the date you file, the claim is: Check all that apply
            Asheville, NC 28804                                      o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     o        No
            Contact                                                  n        Yes. Total claim (secured and unsecured)                 $ $200,000.00
                                                                                    Value of security:                               - $ $0.00
            Contact phone                                                           Unsecured claim                                    $ $200,000.00


 13                                                                  What is the nature of the claim?              Income Taxes 2017,           $ $15,000.00
                                                                                                                   2018 and 2019
            SC Dept of Rev. & Tax
            PO Box 12265                                             As of the date you file, the claim is: Check all that apply
            Columbia, SC 29211                                       o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 4

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               Case 20-02087-hb                      Doc 1           Filed 05/08/20 Entered 05/08/20 14:04:18                                   Desc Main
                                                                     Document     Page 12 of 25


 Debtor 1          Mark Randolph Eskew                                                              Case number (if known)

                                                                     o
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 14                                                                  What is the nature of the claim?              Pearson Road                 $ $50,000.00
            Southern 1st Bank
            PO Box 17465                                             As of the date you file, the claim is: Check all that apply
            Greenville, SC 29606                                     o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     o        No
            Contact                                                  n        Yes. Total claim (secured and unsecured)                 $ $50,000.00
                                                                                    Value of security:                               - $ $0.00
            Contact phone                                                           Unsecured claim                                    $ $50,000.00


 15                                                                  What is the nature of the claim?              Personal loan                $ $20,000.00
            Tom Carswell
            320 Scenic Lake Ct.                                      As of the date you file, the claim is: Check all that apply
            Piedmont, SC 29673                                       o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 16                                                                  What is the nature of the claim?              Paris Mountain Ave           $ $50,000.00
            Upstate Funding LLC
            204 Louisville Drive                                     As of the date you file, the claim is: Check all that apply
            Greenville, SC 29607                                     o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     o        No
            Contact                                                  n        Yes. Total claim (secured and unsecured)                 $ $50,000.00
                                                                                    Value of security:                               - $ $0.00
            Contact phone                                                           Unsecured claim                                    $ $50,000.00


 17                                                                  What is the nature of the claim?              Montis                       $ $50,000.00
            Upstate Funding LLC
            204 Louisville Drive                                     As of the date you file, the claim is: Check all that apply
            Greenville, SC 29607                                     o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 5

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               Case 20-02087-hb                      Doc 1           Filed 05/08/20 Entered 05/08/20 14:04:18                                   Desc Main
                                                                     Document     Page 13 of 25


 Debtor 1          Mark Randolph Eskew                                                              Case number (if known)

                                                                     n        None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     o        No
            Contact                                                  n        Yes. Total claim (secured and unsecured)                 $ $50,000.00
                                                                                    Value of security:                               - $ $0.00
            Contact phone                                                           Unsecured claim                                    $ $50,000.00


 18                                                                  What is the nature of the claim?              Credit Card                  $ $14,605.00
            USAA Federal Savings Bank
            Attn: Bankruptcy                                         As of the date you file, the claim is: Check all that apply
            10750 Mcdermott Freeway                                  o       Contingent
            San Antonio, TX 78288                                    o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 19                                                                  What is the nature of the claim?              Credit Card                  $ $31,234.00
            USAA Federal Savings Bank
            Attn: Bankruptcy                                         As of the date you file, the claim is: Check all that apply
            10750 Mcdermott Freeway                                  o       Contingent
            San Antonio, TX 78288                                    o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 20                                                                  What is the nature of the claim?              Broad Vista Blvd,            $ $432,000.00
                                                                                                                   Montis Drive, Bahan,
                                                                                                                   Tindal Road, Paris
                                                                                                                   Mtn.
            Wilmington Savings Fund
            Society                                                  As of the date you file, the claim is: Check all that apply
            500 Delaware Avenue                                      o       Contingent
            Wilmington, DE 19801                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                     o        No
            Contact                                                  n        Yes. Total claim (secured and unsecured)                 $ $432,000.00
                                                                                    Value of security:                               - $ $0.00
            Contact phone                                                           Unsecured claim                                    $ $432,000.00


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 6

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               Case 20-02087-hb                      Doc 1           Filed 05/08/20 Entered 05/08/20 14:04:18                                  Desc Main
                                                                     Document     Page 14 of 25


 Debtor 1          Mark Randolph Eskew                                                              Case number (if known)



 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ Mark Randolph Eskew                                                          X
       Mark Randolph Eskew                                                                  Signature of Debtor 2
       Signature of Debtor 1


       Date      May 8, 2020                                                                Date




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                      Page 7

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              Case 20-02087-hb                       Doc 1           Filed 05/08/20 Entered 05/08/20 14:04:18              Desc Main
                                                                     Document     Page 15 of 25

Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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              Case 20-02087-hb                       Doc 1           Filed 05/08/20 Entered 05/08/20 14:04:18                 Desc Main
                                                                     Document     Page 16 of 25


        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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              Case 20-02087-hb                       Doc 1           Filed 05/08/20 Entered 05/08/20 14:04:18                Desc Main
                                                                     Document     Page 17 of 25
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75        administrative fee                                         factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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              Case 20-02087-hb                       Doc 1           Filed 05/08/20 Entered 05/08/20 14:04:18               Desc Main
                                                                     Document     Page 18 of 25
                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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               Case 20-02087-hb                      Doc 1           Filed 05/08/20 Entered 05/08/20 14:04:18                    Desc Main
                                                                     Document     Page 19 of 25
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                       District of South Carolina
 In re       Mark Randolph Eskew                                                                              Case No.
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                 $                 15,000.00
              Prior to the filing of this statement I have received                                       $                 15,000.00
              Balance Due                                                                                 $                       0.00

2.     $     1,717.00       of the filing fee has been paid.

3.     The source of the compensation paid to me was:

              n   Debtor           o Other (specify):

4.     The source of compensation to be paid to me is:

              n   Debtor           o Other (specify):

5.       n   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

         o I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  motions pursuant to 11 USC 522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions,
               preparation and filing of reaffirmation agreements and applications as needed or any other adversary
               proceeding.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     May 8, 2020                                                                  /s/ Robert H. Cooper DCID
     Date                                                                         Robert H. Cooper DCID #5670
                                                                                  Signature of Attorney
                                                                                  The Cooper Law Firm
                                                                                  150 Milestone Way, Ste B
                                                                                  Greenville, SC 29615
                                                                                  864-271-9911 Fax: 864-232-5236
                                                                                  thecooperlawfirm@thecooperlawfirm.com
                                                                                  Name of law firm




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              Case 20-02087-hb                       Doc 1           Filed 05/08/20 Entered 05/08/20 14:04:18              Desc Main
                                                                     Document     Page 20 of 25


                                                   LOCAL OFFICIAL FORM 1007-1(b) TO SC LBR 1007-1

                                                               United States Bankruptcy Court
                                                                       District of South Carolina
 In re      Mark Randolph Eskew                                                                            Case No.
                                                                                    Debtor(s)              Chapter    11


                                           CERTIFICATION VERIFYING CREDITOR MATRIX
         The above named debtor, or attorney for the debtor if applicable, hereby certifies pursuant to South Carolina Local
Bankruptcy Rule 1007-1 that the master mailing list of creditors submitted either on computer diskette, electronically filed via
CM/ECF, or conventionally filed in a typed hard copy scannable format which has been compared to, and contains identical
information to, the debtor's schedules, statements and lists which are being filed at this time or as they currently exist in draft form.

            Master mailing list of creditors submitted via:

                        (a)                  computer diskette

                        (b)           scannable hard copy
                        (number of sheets submitted       )

                        (c)         X     electronic version filed via CM/ECF


 Date: May 8, 2020                                                       /s/ Mark Randolph Eskew
                                                                         Mark Randolph Eskew
                                                                         Signature of Debtor

 Date: May 8, 2020                                                       /s/ Robert H. Cooper DCID
                                                                         Signature of Attorney
                                                                         Robert H. Cooper DCID #5670
                                                                         The Cooper Law Firm
                                                                         150 Milestone Way, Ste B
                                                                         Greenville, SC 29615
                                                                         864-271-9911 Fax: 864-232-5236
                                                                         Typed/Printed Name/Address/Telephone

                                                                         DCID #5670 SC
                                                                         District Court I.D. Number




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    Case 20-02087-hb   Doc 1   Filed 05/08/20 Entered 05/08/20 14:04:18   Desc Main
                               Document     Page 21 of 25


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                        AMERICAN TREE SERVICE LLC
                        136 WOODRUFF DRIVE
                        GREER SC 29651


                        ANNE ESKEW
                        15 SUMMER GLEN DRIVE
                        SIMPSONVILLE SC 29681


                        AUTOMONEY
                        6109 WHITE HORSE ROAD
                        GREENVILLE SC 29611


                        BANK OF AMERICA
                        ATTN: BANKRUPTCY NC4-105-02-77
                        PO BOX 26012
                        GREENSBORO NC 27410


                        BANK OF AMERICA
                        4909 SAVARESE CIRCLE
                        FL1-908-01-50
                        TAMPA FL 33634


                        BANK OF AMERICA
                        4909 SAVARESE CIRCLE
                        TAMPA FL 33634


                        BANK OF AMERICA
                        PO BOX 982238
                        EL PASO TX 79998


                        BB & T
                        4251 FAYETTEVILLE RD
                        LUMBERTON NC 28358


                        BB&T
                        PO BOX 1847
                        WILSON NC 27894


                        BRUCE KINGSMORE
                        101 N. MAIN STREET
                        GREENVILLE SC 29601


                        BSI FINANCIAL SERVICES, INC.
                        PO BOX 517
                        TITUSVILLE PA 16354
Case 20-02087-hb   Doc 1   Filed 05/08/20 Entered 05/08/20 14:04:18   Desc Main
                           Document     Page 22 of 25



                    CAPITAL ONE
                    ATTN: BANKRUPTCY
                    PO BOX 30285
                    SALT LAKE CITY UT 84130


                    CAPITAL ONE
                    PO BOX 30281
                    SALT LAKE CITY UT 84130


                    CBL STATE SAVINGS BANK
                    PO BOX 388
                    GREER SC 29652


                    CHASE CARD SERVICES
                    ATTN: BANKRUPTCY
                    PO BOX 15298
                    WILMINGTON DE 19850


                    CHASE CARD SERVICES
                    PO BOX 15369
                    WILMINGTON DE 19850


                    CHERRY BEKAERT, LLP
                    C/O J. BARBOUR RIXEY, PC
                    2901 S. LYNNHAVEN ROAD
                    VIRGINIA BEACH VA 23452


                    CITIBANK
                    CITICORP CREDIT SRVS/CENTRALIZED BK DEPT
                    PO BOX 790034
                    ST LOUIS MO 63179


                    CITIBANK
                    PO BOX 6217
                    SIOUX FALLS SD 57117


                    CLIENT SERVICES
                    3451 HARRY S. TRUMAN BLVD
                    SAINT CHARLES MO 63301-4047


                    EFRAIN SANTIAGO
                    1042 TURNER HILL ROAD
                    EASLEY SC 29642
Case 20-02087-hb   Doc 1   Filed 05/08/20 Entered 05/08/20 14:04:18   Desc Main
                           Document     Page 23 of 25



                    GREENVILLE COUNTY TAX COLLECTOR
                    301 UNIVERSITY RIDGE
                    SUITE 700
                    GREENVILLE SC 29601


                    INMAN GUN & PAWN
                    13060 ASHEVILLE HWY
                    INMAN SC 29349


                    INTERNAL REVENUE SERVICE
                    CENTRALIZED INSOLVENCY OPERATION
                    PO BOX 7346
                    PHILADELPHIA PA 19101-7346


                    JOHNNY FLYNN
                    1 WHITTINGTON DRIVE
                    GREENVILLE SC 29615


                    MCCARTHY BURGESS & WOLFF
                    26000 CANNON ROAD
                    BEDFORD OH 44146


                    NATIONAL ENTERPRISE SYSTEMS
                    2479 EDISON BLVD, UNIT A
                    TWINSBURG OH 44087


                    PATRICK THOMPSON
                    5 BIG LEVEL DRIVE
                    ASHEVILLE NC 28804


                    PMAB INC
                    PO BOX 12150
                    CHARLOTTE NC 28220-2150


                    PRIMEWAY FCU
                    ATTN: BANKRUPTCY
                    PO BOX 53088
                    HOUSTON TX 77052


                    PRIMEWAY FCU
                    CB DISPUTES
                    SAINT LOUIS MO 63166
Case 20-02087-hb   Doc 1   Filed 05/08/20 Entered 05/08/20 14:04:18   Desc Main
                           Document     Page 24 of 25



                    PRISMA HEALTH
                    255 ENTERPRISE BLVD. STE. 210
                    GREENVILLE SC 29615-3556


                    RHETT BURNEY, ESQ.
                    628 NE MAIN STREET
                    SIMPSONVILLE SC 29681


                    ROY BURGER
                    107 AMBERGATE CT.
                    EASLEY SC 29642


                    SC DEPT OF REV. & TAX
                    PO BOX 12265
                    COLUMBIA SC 29211


                    SOUTHERN 1ST BANK
                    PO BOX 17465
                    GREENVILLE SC 29606


                    TOM CARSWELL
                    320 SCENIC LAKE CT.
                    PIEDMONT SC 29673


                    UPSTATE FUNDING LLC
                    204 LOUISVILLE DRIVE
                    GREENVILLE SC 29607


                    USAA FEDERAL SAVINGS BANK
                    ATTN: BANKRUPTCY
                    10750 MCDERMOTT FREEWAY
                    SAN ANTONIO TX 78288


                    USAA FEDERAL SAVINGS BANK
                    10750 MC DERMOTT
                    SAN ANTONIO TX 78288


                    USAA FEDERAL SAVINGS BANK
                    10750 MCDERMOTT
                    SAN ANTONIO TX 78288


                    WELLS FARGO HOME MOR
                    ATTN: BANKRUPTCY
                    PO BOX 10335
                    DES MOINES IA 50306
Case 20-02087-hb   Doc 1   Filed 05/08/20 Entered 05/08/20 14:04:18   Desc Main
                           Document     Page 25 of 25



                    WELLS FARGO HOME MOR
                    PO BOX 10335
                    DES MOINES IA 50306


                    WILMINGTON SAVINGS FUND SOCIETY
                    500 DELAWARE AVENUE
                    WILMINGTON DE 19801
